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       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                    No. 19-2734

                                     JANE DOE,
                                         Appellant

                                         v.

                        MERCY CATHOLIC MEDICAL CENTER

                            (E.D. Pa. No. 2-15-cv-02085)

Present: JORDAN, MATEY and NYGAARD, Circuit Judges

      1. Motion by Appellant to File Redacted IFP Affidavit Out of Time and to Seal
         Previously Filed Unredacted Version.



                                                     Respectfully,
                                                     Clerk/pdb

_________________________________ORDER________________________________

      The foregoing motion is granted.


                                                     By the Court,

                                                     s/ Paul B. Matey
                                                     Circuit Judge

Dated: April 29, 2021
PDB/cc: Jane Doe
        All Counsel of Record
